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                  IN THE STATE COURT OF CLAYTON COUNTY
                             STATE OF GEORGIA

DIANA FERRUZOLA,                                           Civil Action File No.
                                                           2021CV01174
             Plaintiff,
v.

WAL-MART, INC., and
JOHN DOE

             Defendants.
                             /

                           ANSWER OF DEFENDANT

      COMES NOW, Defendant WAL-MART, INC. and makes this Answer to

Plaintiff's Complaint as follows:

                                    FIRST DEFENSE

      Plaintiff's Complaint fails to state a claim against Defendant upon which relief

can be granted.

                                 SECOND DEFENSE

      Plaintiff's alleged damages, if any, were directly and proximately caused by

Plaintiff's own contributory negligence and failure to exercise ordinary care.

                                 THIRD DEFENSE

      Plaintiff was not in the exercise of ordinary care for her own safety in the

premises, and by the exercise of ordinary care could have avoided any injury to



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herself; and on account thereof, Plaintiff is not entitled to recover from Defendant.

                               FOURTH DEFENSE

      Defendant denies that it was negligent in any manner whatsoever or that any

negligent act or omission on its part caused or contributed to any injury or damage

alleged to have been sustained by Plaintiff.

                                 FIFTH DEFENSE

      Plaintiff assumed the risk of any hazard that was presented and is thereby

barred from recovering against Defendant.

                                 SIXTH DEFENSE

       Plaintiff's claims are barred by insufficiency of service and insufficiency of

process.

                               SEVENTH DEFENSE

      Defendant responds to the enumerated paragraphs of Plaintiff's Complaint

as follows:

                                         1.

      Defendant denies the allegations contained in paragraph 1 of the Plaintiff's

Complaint. Jurisdiction is now proper in the United States District Court, Northern

District of Georgia, Atlanta Division.




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                                         2.

      Defendant denies the allegations contained in paragraph 2 of Plaintiff's

Complaint.

                                         3.

      Defendant denies the allegations contained in paragraph 3 of the Plaintiff's

Complaint.

                                         4.

      Defendant denies the allegations contained in paragraph 4 of the Plaintiff's

Complaint.

                                         5.

      Defendant denies the allegations contained in paragraph 5 of the Plaintiff's

Complaint. Venue is now proper in the United States District Court, Northern

District of Georgia, Atlanta Division.

                                         6.

      Defendant re-alleges and incorporates herein by reference paragraphs 1

through 5 above as if the same were restated verbatim.

                                         7.

      Defendant denies the allegations contained in paragraph 7 of Plaintiff's

Complaint, as stated. The applicable case law has been omitted.



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                                        8.

      Defendant denies the allegations contained in paragraph 8 of the Plaintiff's

Complaint.

                                        9.

      Defendant denies the allegations contained in paragraph 9 of Plaintiff's

Complaint, including subparagraph 1), 2), 3) and 4) thereof.

                                       10.

      Defendant denies the allegations contained in paragraph 10 of the Plaintiff's

Complaint.

                                       11.

      Defendant re-alleges and incorporates herein by reference paragraphs 1

through 10 above as if the same were restated herein verbatim.

                                       12.

      Defendant denies the allegations contained in paragraph 12 of Plaintiff's

Complaint.

                                       13.

      Defendant denies the allegations contained in paragraph 13 of the Plaintiff's

Complaint.




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                                       14.

      Defendant denies the allegations contained in paragraph 14 of Plaintiff's

Complaint.

                                       15.

      Defendant re-alleges and incorporates herein by reference paragraphs 1

through 14 above as if the same were restated verbatim.

                                       16.

      Defendant denies the allegations contained in paragraph 16 of the Plaintiff's

Complaint.

                                       17.

      Defendant denies the allegations contained in paragraph 17 of Plaintiff's

Complaint.

                                       18.

      Defendant denies the allegations contained in paragraph 18 of the Plaintiff's

Complaint.

                                       19.

      Defendant denies the allegations contained in paragraph 19 of Plaintiff's

Complaint.




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                                         20.

       Defendant denies the allegations contained in paragraph 20 of the Plaintiff's

Complaint.

                                         21.

       All other allegations contained in the Complaint which are not specifically

responded to herein, are, therefore, denied.

                                         22.

       Defendant denies Plaintiff's prayer for relief, including subparagraphs a), b),

c), d), e), and f) thereof.

       WHEREFORE, Defendant prays that Plaintiff's Complaint be dismissed with

all costs cast upon the Plaintiff. DEFENDANT DEMANDS TRIAL BY A JURY OF

TWELVE (12) PERSONS AS TO ALL ISSUES SO TRIABLE.


                                       McLAIN & MERRITT, P.C.


                                       /s/ Howard M. Lessinger
                                       Howard M. Lessinger
                                       Georgia Bar No. 447088


                                        /s/ Nicholas E. Deeb
                                       Nicholas E. Deeb
                                       Georgia Bar No. 117025
                                       Attorneys for Defendant
                                       WAL-MART, INC.


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3445 Peachtree Road, N.E.
Suite 500
Atlanta GA 30326
(404) 365-4514
(404) 364-3138 (fax)
hlessinger@mmatllaw.com




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                        CERTIFICATE OF SERVICE

     I hereby certify that a copy of the above and foregoing ANSWER OF

DEFENDANT WAL-MART, INC. has this day been filed and served upon opposing

counsel via Odyssey eFileGA.

     This the 18th   day of June, 2021.

                                   McLAIN & MERRITT, P.C.



                                   /s/ Howard M. Lessinger
                                   Howard M. Lessinger
                                   Georgia Bar No. 447088
                                   Attorney for Defendant
                                   WAL-MART, INC.
3445 Peachtree Road, N.E.
Suite 500
Atlanta GA 30326
(404) 365-4514
(404) 364-3138 (fax)
hlessinger@mmatllaw.com




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